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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DENNIS W. LINDERMAN
and Civil Action No:
ROBIN D. LINDERl\/IAN, H/W

Plaintiffs,
v.

TY M. HITMAN

and
CENTRAL OREGON TRUCK
COMPANY, INC. D/B/A CENTRAL
OREGON TRUCKING CO.

 

Defendants.

 

DEFENDANTS’ NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants, Ty M. Hitman and
Central Oregon Truck Company, Inc. d/b/a Central Oregon Trucking Co. (“Removing
Defendants”), by and through counsel, give Notice of Removal of this action from the
Common Pleas Court of Berks County, Pennsylvania to the United States District Court
for the Eastern District of Pennsylvania, and in support thereof, states as follows:

REMOVAL IS TIMELY UNDER 28 U.S.C. 8 1446

l. This action Was initially commenced by Plaintiffs, Dennis W. Linderman
and Robin D. Linderman (“Plaintiffs”), filed in the Berks Court of Common Pleas on
September ll, 2017 and docketed in the matter entitled Lina’erman, Dennis W v. Hitman,
Ty M, No. l7-l4369. A true and correct copy of Plaintift’S Complaint is annexed hereto
as Exhibit “A.”

2. This Notice of Removal is being filed Within 30 days after receipt by

Removing Defendants of a copy of a paper from Which it may be ascertained that this

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case is one Which has become removable in accordance With U.S.C. § l446(b)(3). See
Erekson v. Ashford Philadelphz`a Annex, LLC, No. 12-5815, 2013 U.S. Dist. LEXIS
57745 (E.D. Pa. Apr. 23, 2013).

3. Pursuant to 28 U.S.C. § l446(d), upon filing this Notice of Removal,
Removing Defendants will file a Notice of Filing of Notice of Removal in the State Court
Action pending in the Common Pleas Court of Berks County, Pennsylvania and Will
provide Written notice to Plaintiffs. A true and correct copy of the Removing Defendants’
Notice of Filing of Notice of Removal is annexed hereto as Exhibit “B.”

DIVERSITY OF CITIZENSHIP EXISTS UNDER 28 U.S.C. § 1332

4. Plaintiffs are citizens of the State of Pennsylvania With an address of 3379
Bellemans Church Road, Mohrsville, Berks County, Pennsylvania 19541. See
Complaint at 111.

5. Removing Defendant, Central Oregon Truck Company, Inc. d/b/a Central
Oregon Trucking Co. is a limited liability corporation organized and existing under the
laws of the State of Oregon With a principal place of business located at 394 Northeast
Hemlock Avenue, Redmond, Oregon 97756. See Ia'. at 114.

6. Removing Defendant, Ty M. Hitman, is an adult citizen and resident of
the State of Michigan residing at 1561 Lamb Road, Interlochen, Michigan 46643-9628.
See Ia’. at 113.

AMOUNT IN CONTROVERSY EXCEEDS $75,0!}0
7. Plaintift’s Complaint seeks damages in excess of Fifty Thousand Dollars

($50,000). See ad damnum in Complaint.

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8. Plaintiffs allege to have suffered severe and permanent injuries resulting in
medical expenses and liens which are likely to exceed $75,000.

9. Plaintiffs have provided Removing Defendants with an
economic/vocational report from Michael J. Smychynsky Consulting, LLC. A true and
correct copy of the Mr. Smychynsky’s August 15, 2017 report is annexed hereto as
Exhibit “C.”

10. Mr. Smychynsky’s report projects an economic loss of $493,920. See Ia’.
at pg. 6.

ll. As such, the amount in controversy exceeds the jurisdictional threshold of
$75,000, exclusive of interest and costs, required by 28 U.S.C. § l332(a).

DIVERSITY JURISDICTION IS SATISFIED

l2. Based upon the above, this Court has original Subject matter jurisdiction
over this action pursuant to 28 U.S.C. § 1332 in that Plaintiffs’ Complaint presents a case
where the amount in controversy is alleged to exceed $75,000 and the controversy exists
between citizens of different states.

13. Removing Defendants will promptly file a copy of this Notice with the
Clerk of the Court of Common Pleas in Berks County, Pennsylvania in the State Court
Action as required by 28 U.S.C. § l446(d) and provide written notice to Plaintiffs.

l4. This Notice of Removal is signed pursuant to Rule ll of the Federal Rules

of Civil Procedure.

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Dated: Se])tember 15, 20|7

Respectfully submitte

By:

 

Zachary J. Balliar

David J. Jones, E q

SALMON, RICCH
1601 Market Stl'ee

 
  

Esquire

Jire

bA, SINGER & TURCHI LLP
~ Suite 2500

 

Philadelphia, PA 1 9103

zballard@srstlaw.com / djones@srstlaw.com
Attorneysfor Defendants, T y M. Hitman and
Central Oregon Truck Company, Inc. d/b/a Central
Oregon Trucking Co.

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CERTIFICATE OF SERVICE
I, David J. Jones, Esquire, Attorney for Defendants, Ty M. Hitman and Central
Oregon Truck Company, Inc. d/b/a Central Oregon Trucking Co., hereby certifies that I
served a true copy of the foregoing Notice of Removal on the foregoing counsel by
electronic filing and U.S. l\/lail, postage pre-paid:
Peter F. Schuchman, Jr., Esquire
Kozloff Stoudt
2640 Westview Drive
Wyomissing, PA 19610

pschuchman@kozloffstoudt.com
Counsel for Plaintiffs

   
  
 

SALMON, RICC , SINGER & TURCHI LLP

By:

 

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David J. Jone. Esquire

1601 Market r treet - Suite 2500

Philadelphia, PA 19103

zballard@srstlaw.com

djones@srstlaw.com

Attorneys for Defendants, Ty M. Hitman and
Central Oregon Truck Company, Inc. d/b/a Central
Oregon Tracking C0.

Dated: Sej:_)tember 15. 201?

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Peter F, Schuchman, ]r., Esquire

 

Attorney ID# 69343

Kozloff Stoudt

2640 Westview Drive

Wyomissing, PA 19610

(610) 670-2591 Attorney for Plaintiffs
DENNIS W. LINDERMAN AND ~: IN THE COURT OF COMMON PLEAS
ROBIN D. LINDERMAN, Husband and : OF BERI<S COUNTY, PENNSYLVANIA
Wife, : CIVIL ACTION - LAW

Plaintiffs :
v : NO. 17-14369

TY M. I-IITMAN and CENTRAL
OREGON TRUCK COMPANY, INC.,

d/ b/ a CENTRAL OREGON TRUCKING
CO., :

Defendants : ASSIGNED TO: ]AMES M. LILLIS, ].

 

COMPLAINT

 

NOTICE TO DEFEND

TO: TY M. HITMAN
CENTRAL OREGON TRUCK COMPANY, INC., d/ b/ a CENTRAL OREGON
TRUCKING CO.

You have been sued in Court. If you Wish to defend against the claims set forth in the
following pages, you must take action Within twenty (20) days after this Complaint and
Notice are served, by entering a Written appearance personally or by attorney and filing

in Writing With the court your defenses or objections to the claims set forth against you.

You are Warned that if you fail to do so the case may proceed Without you and a
judgment may be entered against you by the court Without further notice for any
money claimed in the Complaint or for any other claim or relief requested by the

Plaintiffs. You may lose money or property or any other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS

OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAW.YER.

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IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

Lawyer Referral Service
Berl<s County Bar Association
544 Court Street
P.O. Box 1058
Reading, PA 19603
Telephone: (610) 375-4591

AVISO

Le han demandado a usted en el tribunal. Si usted quiere defenderse de las
demandas expuestas en las paginas siguientes, usted debe tomar accion en el piazo de
veinte (20) dias a partir de la fecha en que se le hizo entrega de la demanda y la
notificacion, al interponer una comparencia escrita, en persona 0 por un abogado y
registrando por escrito en el tribunal sus defensas o sus objectiones a las demandas en
contra de su persona. Se le advierte que si usted no lo hace, el caso puede proceder sin
usted y podria dictarse un fallo por el juez en contra suya sin notificacion adicional y
podria ser por cualquier dinero reclamado en la demanda o por cualquier otro reclamo
o desagravio en la demanda solicitado por el demandante. Usted puede perder dinero
o sus propiedades u otros derechos importantes para usted.

Usted debe llevarle esta demanda su abo gado inmediatamente. Si no tiene
abogado 0 si no tiene el dinero suficiente para pagar tal servicio, vaya en persona o
llame por teléfono a la oficina cuya direccion se encuentra escrita abajo para
averiguar donde se puede conseguir asistencia legal.

Servicio de Recomendacion para Contratar Abogados
Colegio de Abogados del Condado Berl<s
544 Court Street
P. O. Bo)< 1058
Reading, PA 19603
(610) 375-4591

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1. The amount in controversy exceeds the jurisdictional limitation for
submission to compulsory arbitration set forth in the Berl<s County Rules of Court.

2. The Plaintiffs are Dennis W‘ Linderman (”Dennis”) and qubin D.
Linderman ("Robin”), husband and wife and adult individuals who reside at 3379
Bellemans Church Road, Mohrsville, Berl<s County, Pennsylvania, 19541.

3. The Defendant is Ty M. Hitman (hereinafter ”I-Iitman”) an adult
individual having an address at 1561 Lamb Road, Interlochen, Michigan, 49643-9628.

4. The Defendant is Central Oregon Trucl< Company, Inc., d/ b/ a Central
Oregon Trucl<ing Co. (hereinafter ”Central"), a sole proprietorship, limited liability
company, corporation, or other entity believed to be organized and doing business
under the laws of the State of Oregon, and having an address and principal place of
business located at 394 Northeast Hernlock Avenue, Redmond, Oregon, 97756.

5. At all times relevant and material hereto, Hitman Was operating a 2016
I<enworth Tractor (VIN 1XI<YDP9X5G]499175) which towed a sami-trailer (Tag
Number HU96519) northbound on Route 61 at its intersection with Bellemans Church
Road, Ontelaunee Township, Berl<s County, Pennsylvania

6. The Kenworth Tractor and semi~trai_ler are hereafter referred to as the
”Tractor Trailer."

'7. At all times relevant and material hereto, Central owned, leased,
possessed or otherwise controlled the Tractor Trailer, and Hitman was operating the

Tractor Trailer, as Central's authorized agent, servant, workman, or employee in

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furtherance of Central’s business interests and within the course and scope of his
agency or employment

8. On September 16, 2015, at or about 2:00 p.m., prevailing time, Dennis was
lawfully operating his 2008 Toyota F] Cruiser, stopped westbound on Bellemans
Church Road at the traffic signal controlling access to Route 61, Ontelaunee Township,
Berl<s County, Pennsylvania

9. At the same time and place, the traffic signal controlling Dennis’s
direction of travel changed to green and Dennis thereafter lawfully proceeded into the
intersection

10. At the same time and place, Hitman was traveling on Route 61 at its
intersection With Bellemans Church Road and, in spite of his direction of travel being
controlled by a steady red signal, proceeded into the intersection striking Dennis’s
vehicle on the driver’s side, spinning Dennis’s vehicle, which became airborne, causing
Dennis’s vehicle to land on a guardrail (hereinafter ”Collision").

11. The force of impact caused Dennis to become entrapped in his vehicle for
an extended period of time until he Was freed by rescue personnell

12. As a direct and proximate result of the aforesaid Collision and the
negligence, carelessness, and recklessness of Defendants in causing the same, Dennis
has suffered numerous severe and disabling injuries, including to date, but not
necessarily limited to, the following:

a. Chest wall contusion, ascending aortic aneurysm, subcutaneous
emphysema, dilated thoracic aorta, probable rib fractures,‘

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b. Cervical strain and sprain secondary to MVA superimposed on
pre-existing multiple cervical spine surgeries, left paracentral
herniation at C7-T1, significant multilevel spondylosis with
spondylitic ridging at multiple levels, cervical radiculopathy
and cervicalgia,'

c. Abdominal pain,'

d. Bilateral shoulder pain,'

e. Lumbar spondylosis, left paracentral disc herniation at L5-Sl,
central canal stenosis at L2-3, L3-4, and L4-5, lumbar radiculopathy,
intervertebral disc prolapse, sacroiliac disorder, thoracic,
thoracolumbar, and lumbosacral intervertebral disc disorder,
significant facet disease with facet joint infusions and ligamentum
flavum hypertrophy; back pain.

f. Left knee pain,'

g. Bilateral lower extremity pain;

h. Bilateral hip pain,'

i. Bilateral upper extremity radiculopathy, parathesias, and
weakness, bilateral carpal tunnel syndrome;

j. Right ulnar neuropathy and atrophy of right hand muscles;

k. Significant sleep disturbance
for which he received medical care in an effort to relieve the pain, emotional upset,
severe shock to his nervous system and numerous other injuries, all of which have
rendered him sick, sore, lame and disordered, by reason of which he has suffered and
may continue to suffer great physical pain and mental anguish for an indefinite period
of time into the future.

13. As a further direct and proximate result of the Collision and the

negligence, carelessness and recklessness of Defendants in causing the same, Dennis

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was obliged to accumulate to date and may be required to accumulate in the future,
reasonable and necessary medical expenses for payment of physicians' fees, hospital
bills, therapeutic treatments, rehabilitation, medications, and various other expenses for _
treatment of the injuries which he has suffered as a result of this Collision.

14. As a further direct and proximate result of the aforesaid Collision and the
negligence, carelessness and recklessness of Defendants in causing the same, Dennis has
suffered and may in the future continue to suffer great physical pain, mental suffering,
loss of good health and well being, loss of ability to enjoy life and life's pleasures,
physical impairment and disability, disfigurement, inconvenience and emotional
distress, some or all of which are or may be permanent in nature and effect.

15. As a further direct and proximate result of the aforesaid Collision and the
negligence, carelessness and recklessness of Defendants in causing the same, Dennis has
suffered past lost earnings and may in the future suffer lost earnings and/ or earning
capacity.

16. As a further direct and proximate result of the aforesaid Collision and the
negligence, carelessness and recklessness of Defendants in causing the same, Dennis
Was unable to follow his usual social and recreational activities, and may be unable to
follow such usual social and recreational activities for an undetermined period of time

into the future.

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COUNT I
Dennis W. Linderman v. Ty M. Hitman

Negligeuce

17. Plaintiff Dennis W. Linderman incorporates by reference herein the

averments contained in Parag'raphs 1 through 16 of this document as though the same

were set forth verbatim.

18. The aforesaid Collision and the injuries and damages sustained by Dennis

as a result thereof, were solely the direct and proximate result of the negligence,

negligence per se, carelessness and/ or recklessness of Defendants which consisted of,

among other things, the following:

a.

Operating the Tractor Trailer without regard for the rights and/ or
safety of others, including Plaintiff Dennis W. Linderman;

Running a red light in violation of 75 Pa.C.S.A. §3112;

Failing to have the Tractor Trailer under control;

Operating the Tractor Trailer without knowledge of the limited
braking power of a vehicle of that size while traveling at speeds too

great for the conditions then and there existing;

Driving the Tractor Trailer without regard for prevailing traffic
conditions;

Operating the Tractor Trailer at an excessive rate of speed for the
traffic conditions then and there existing;

Failing to maintain a proper lookout;
Being inattentive;

Failing to yield the right-of-way to Plaintiff Dennis W. Linderman
in violation of 75 Pa.C.S.A, §3322,'

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Operating the Tractor Trailer at a speed greater than necessary to
bring it to a stop with the assured clear distance ahead in violation
of 75 Pa. C.S.A. §3361;

Operating the Tractor Trailer in violation of 75 Pa.C.S. §3736,'

Causing and/ or permitting the Tractor Trailer to strike Plaintiff
Dennis W. Linderman's vehicle which was then and there in his full
view;

Violating provisions of the Vehicle Code of the Commonwealth
of Pennsylvania pertaining to the operation, inspection and
maintenance of motor vehicles and/ or Tractor Trailers,'

Violating the regulations established by the Federal Motor C.\)rrier
Safety Regulations (“FMCSR”) pertaining to the hours of service,
operation, inspection, and maintenance of Tractor Trailers;

Violating the Code of Federal Regulations (”CFR”) pertaining to
hours of service, operation, inspection, and maintenance of Tractor
Trailers,'

Driving the Tractor Trailer too fast for conditions,'
Driving the Tractor Trailer while distracted;

Operating the Tractor Trailer while utilizing a handheld device by
talking, texting or accessing or sending data.

Failing to take proper evasive action to avoid contact between the
Tractor Trailer and other vehicles upon the roadway, including
Plaintiff Dennis W. Linderman's vehicle,'

Driving the Tractor Trailer with reckless disregard for the
substantial likelihood that his conduct would cause severe and
disabling injuries to others lawfully upon the roadway, including
Plaintiff Dennis W. Linderman; and

Being otherwise careless, negligent, reckless or wanton as further
discovery or investigation may reveal.

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WHEREFORE, Plaintiff Dennis W. Linderman demands judgment in his favor
and against Defendant Ty M. Hitman in an amount in excess of $50,000.00, plus
punitive damages, delay damages, costs of suit and such further and other relief as may
be recoverable under applicable law.

COUNT Il
Allegations of Negligent Hiring/ Supervision Against

Centi'al Oi.£gon "|_`riu‘.l< Company, `lnc., ci,f__ii/`a Centi'al Oi.‘eg`on 'l`rucl<in{{ Co.

19. Plaintiff Dennis W. Linderman incorporates by reference herein the
averments contained in Paragraphs 1 through 18 of this document as though the same
were set forth verbatim.

20, Upon information and belief, at all times relevant and material hereto,
Hitman was under the supervision the Driver Services Supervisor and/or
Transportation Planner or other Supervisor for Central who held, at all times relevant
and material hereto, the power to report upon, discipline, train, retrain, supervise,
suspend, and / or fire Hitman on behalf of Central.

21. The Collision and the resulting damages claimed herein, were directly and
proximately caused by the negligence, negligence per se, carelessness, recklessness,
wanton or willful misconduct of Central, which consisted of, among other things, the
following:

a. Hiring, retaining, and / or contracting with Hitman to operate the
Tractor Trailer when Central knew or should have known that
Hitman had, on previous occasion(s), caused accidents while

operating a vehicle similar to the Tractor Trailer;

b. Failing to properly and thoroughly conduct a background
investigation of Hitman;

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k.

Violating the regulations established by the Federal Motor
Carrier Safety Administration pertaining to the employment and
qualification of operators of Tractor Trailers like the one
involved in this action;

Violating provisions of the Vehicle Code of the Commonwealth
of Pennsylvania pertaining to the employment and qualification
of operators of Tractor Trailers like the one involved in this action;

Permitting, causing, or allowing Hitman to operate the Tractor
Trailer in violation of hours and service regulations 49 CFR 395.3;

Permitting, causing, or allowing Hitman to operate the Tractor
Trailer when he was too tired to do so safely in violation of 49
CFR 392.3,'

Permitting, causing, or allowing Hitman to fail to properly record
his duty status in violation of 49 CFR 395.8;

Permitting, causing, or allowing Hitman to fail to properly
inspect the Tractor Trailer in violation of Federal Motor Carrier
Safety Regulation. 49 CFR 396.13;

Permitting, causing, or allowing Hitman to fail to properly report
the results of the pre-trip inspection in violation of 49 CFR 396.11;

Failing to supervise Hitman as he was violating the above
regulations,'

Continuing to employ Hitman despite knowledge that Hitman
was an unsafe driver;

Failing to have effective procedures in place to monitor Hitman’s
hours of service, despite knowledge that hours of service '
regulations are in place to protect the public from harm;

Providing Hitman with a work schedule which required him to

operate the Tractor Trailer in excess of the speed prescribed by
the rules of the road in violation of 49 CFR 392.6,'

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n. Providing Hitman with a work schedule which required him to
operate the Tractor Trailer while fatigued and impaired from
operating it safely;

o. Failing to adequately supervise Hitrnan’s actions, including

failing to ensure that he knew of and/ or would comply with
Pennsylvania and/ or Federal regulations concerning the safe
operation and maintenance of the rl`ractor Trailer; »

p. Bring otherwise careless, negligent, reckless or wanton as may be
revealed in further discovery and investigation

WHEREFORE, Plaintiff Dennis W. Linderman demands judgment in his favor
and against Defendant Central Oregon Truck Company, Inc., d/b/a Central Oregon
Trucking Co. in an amount in excess of $50,000.00, plus punitive damages, delay
damages, costs of suit and such further and other relief as may be recoverable under
applicable law.

COUNT III
Robin D. Linderman v. Ty M. Hitman and
Central Oregon Truck Company, Inc., d/b/a
Central Oregon Trucking Co.
Loss of Consortium

22. The Plaintiff, Robin D. Linderman, incorporates by reference herein the
averments contained in Paragraphs 1 through 21 of this document as though the same
were set forth verbatim.

23. At all times relevant and material hereto, Robin Was the wife of Dennis.

24. As a result of the aforesaid Collision and the negligence, carelessness

and / or recklessness of the Defendants in causing the same, Robin has been deprived of

the support, comfort, affection, services, companionship, society and connubial

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relations With her husband, and may be deprived of the same for an indefinite period of
time into the future, all of which is to her financial detriment and damage.
WHEREFORE, Plaintiff Robin D. Linderman demands judgment in her favor and
against the Defendants Ty M. Hitman and Central Oregon Truck Company, Inc., d/b/ a
Central Oregon Trucking Co. in an amount in excess of $50,000.00, plus punitive
damages, delay damages, costs of suit and such further and other relief as may be

recoverable under applicable law.

    

 

Peter F, Schuchman, ]r., Esquire
Attorney for Plaintiffs

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VERIFICATION

The undersigned, having read the attached Plaintiffs’ Complaint, hereby verifies
that the attached pleading is based on information furnished to counsel, Which
information has been gathered by counsel in the course of this lawsuit The language of
the pleading is that of counsel and not of the undersigned The undersigned verifies
that he has read the attached pleading and that it is true and correct to the best of his
information and belief, To the extent that the contents of the pleading are that of
counsel, the undersigned has relied upon counsel in taking this Verification. This
Verification is made subject to the penalties of 18 Pa. C,S. Section 4904, relating to

unsworn falsification to authorities

 

 

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Robin D. Linderman

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Peter F. Schuchman, ]r., Esquire
Attorney lD# 69343

Kozloff Stoudt

2640 Westview Drive
Wyomissing, PA 19610

(610) 670-2591

Attorney for Plaintiffs

 

DENNIS W. LINDERMAN AND
ROBIN D. LINDERMAN, Husband and
Wife,

Plaintiffs

v.

TY M. HITIVIAN and CENTRAL
OREGON TRUCK COMPANY, INC.,
d / b / a CENTRAL OREGON TRUCI<ING
CO.,

Defendants

: IN THE COURT OF COMMON PLEAS
: OF BERI<S COUNTY, PENNSYLVANIA
: CIVIL ACT[ON - LAW

: NO. 17-14369

: AssiGNsD To; ]AMES M. LILLis, j’.

 

CERTIFICATE OF SERVICE

 

I, Peter F. Schuchman, ]r , Esquire, attorney for Plaintiffs certify that on
q/ / / 2017, a true and correct copy of the attached Complaint was served
upon the following party by first class mail, postage prepaid:

Zachary Ballard, Esquire
Salmon, Ricchezza, Singer & Turchi, LLP

1601 Market Street
Suite 2500

Philadelphia, PA 19103

This Certificate is made subject to the penalties of 18 Pa. C,S. Section 4904
relating to unsworn falsification to authorities

 

KOZLOFF STOUDT

~Q,§/U

 

l’i: tel _F. Schuchrnan,]r., Esquire
Attorneys for Plaintiffs

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SALMON, RICCHEZZA, SINGER & TURCHI LLP

By: Zachary Ballard, Esq. Attorney ID# 206177
David J. Jones, Esq. Attorney ID# 322087

1601 Market Street, Suite 2500

Philadelphia, PA 19103

 

(215) 606-6600 Attorneysfor Defendants, Ty M. Hitman
(215) 606-6601 Fax and Central Oregon Track Company, Inc.
zballard@srstlaw.com d/b/a Central Oregon Trucking Co.
djones@srstlaw.com
' DENNIS W. LINDERMAN : COURT OF COMMON PLEAS
‘ BERKS COUNTY

and

ROBIN D. LINDERMAN, H/W : NO.: 17-14369
Plaintiffs
v.

TY M. HITMAN

and

CENTRAL OREGON TRUCK COMPANY,
INC. D/B/A CENTRAL OREGON
TRUCKING CO.

Defendants

 

NOTICE OF REMOVAL
TO THE PROTHONOTARY:

PLEASE TAKE NOTICE that Defendants, Ty l\/I. Hitman and Central Oregon Truck
Company, Inc. d/b/a Central Oregon Trucking Co. (collectively “Defendants”) have filed a
Notice of Removal in the Office of the Clerk of the United States District Court for the Eastern
District of Pennsylvania, regarding the above captioned matter.

ln accordance with 28 U.S.C. § 1446, Defendants file herewith and attach a true and

correct copy of the Notice of Removal. A true and correct copy of Defendants’ September 15,

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2017 Notice of Removal to the United States District Court for the Eastern District of

Pennsylvania is annexed hereto as Exhibit “A.”

Respectfully submitted

SALMON, RICCHEZZA, SINGER & TURCHI LLP

By:

 

Zachary J. Ballard, Esquire

David J. Jones, Esquire

Attorneysfor Defendants, Ty M. Hitman and Central
Oregon T rack Company, Inc. d/b/a Central Oregon
Trucking Co,

Dated:

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CERTIFICA'[`E OF SERVICE
I, David J. Jones, Esquire, hereby certify that the foregoing Notice of Removal was
served this date upon all counsel and parties listed below, by electronic filing and United States

regular mail, postage prepaid.

Peter F. Schuchman, Jr., Esquire
Kozloff Stoudt
2640 Westview Drive
Wyomissing, PA 19610
pschuchman@kozloffstoudt.com
C ounsel for Plaintiffs

SALMON, RICCHEZZA, SINGER & TURCHI LLP

By:

 

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Attorneysfor Defendants, Ty M. Hitman and Central
Oregon Track Company, Inc. d/b/a Central Oregon
Tracking Co.

Dated:

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MICHAEL J. SMYCHYNSKY CONSULTING, LLC
P.O. BOX 6616
WYOMISSING, PA 19610
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Vocational Rehabililall`on & Forensz'c Economic Consulting

 

August 15, 2017

Kozloff Stoudt

c/o Peter Schuchman, Esq.
2640 Westview Drive
Wyomissing, PA 19610

Re: Dennis Linderman
Date of Injury: 9/16/15
Date of Birth: 5/14/56
Your File NO.: 209103-1

Dear Mr. Schuchman:

At your request, l was asked to provide a Vocational Economic assessment of Dennis
Linderman relative to a motor vehicle accident that occurred on September 16, 2015. A
Vocational Evaluation was held with Mr. Linderman on May 11, 2017, and the following
records were reviewed for this evaluation:

Police Report;

Godiva wage loss documentation;

Disability and payroll records;

Social Security earnings statement;

Social Security Records and approval for benefits ;
Medical index, summary, and records;

W2 and earnings records;

Narrative report of Steven Evans, DO;

July 24, 2017, report of Steven Evans, DO.

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Please allow this report to serve as an initial analysis of Mr. Linderman’S vocational-
economic claim based on the records produced to date. Supplements to this study will be
offered as additional materials are provided.

By way of background and to illustrate my experience in providing assessment in the
above captioned matter, l am a Certif1ed Rehabilitation Counselor. 1 have undergraduate
and graduate degrees from Penn State University in Rehabilitation with a focus in
Vocational Rehabilitation, job placement, and vocational assessment For the past twenty

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eight years my practice has concentrated on the evaluation of individuals following a
precipitating event which could include work injury, auto accident, employment status
change, marital dissolution, or any number of issues that would prompt a review of the
subject’s work and educational history. I also customarily review medical records, assess
medical limitations, provide assessment of residual employability, and perform job search
and identification for subjects within their known employment market

In addition, l hold a Master’s degree in Business Administration from Penn State
University with an emphasis in Economics. As part of my practice I regularly assess the
earnings of available positions and the economic impact of changes in vocational status.

l have been accepted as both a vocational and as an economic expert qualified to provide
analysis of wages, benefits, past and future loss while analyzing economic conditions and
trends within the U.S. economy.

BACKGROUND INFORMATION/ RECORD REVIEW:

According to file records, the police report, medical records, and the account offered
during our meeting, Dennis Linderrnan, currently a 61-year-old male, was involved in a
serious motor vehicle accident on September 16, 2015. At the time of the incident, Mr.
Linderman was operating his passenger vehicle at the intersection of Route 61 and
Belleman’s Church Road in Berks County Pennsylvania He was proceeding through an
intersection when a tractor trailer ran a red light and impacted Mr. Linderman’s vehicle.

Mr. Linderman was extricated from the vehicle and transported from the scene by
ambulance to St. Joseph’s Medical Center. After initial evaluation at St. Joseph’s` he was
transported to Hershey Medical Center for further treatment Mr. Linderman treated
extensively after the accident for cervical, upper extremity, and low back complaints
Records from Dr. Steven Evans, Dr. Leonard D’Addesi, and l\/lountain River Physical
Therapy were reviewed l will defer to those records for a more in depth accounting of
the care and treatment offered to Mr. Linderman following the accident

Mr. Linderman was seen most recently by Dr. Steven Evans for low back pain with
radiating pain into both legs. This complaint was reported as getting worse since October
2016. He was also evaluated for cervical pain and sleep disturbance Dennis Linderman
had a history of treatment for cervical complaints including prior surgical procedures ;
however, at the time of the September 16, 2015 , accident Mr. Linderman was working
and functioning in a full duty, unrestricted capacity. lt was the opinion of Dr. Steven
Evans that Mr. Linderman’s current complaints and need for medical treatment were the
direct result of the accident of September 16, 2015. Dr. Evans offered opinion Mr.
Linderman could not return to his prior occupation as a truck driver and he completed a
form on May 23, 2016, restricting Mr. Evans from employment

In a report dated July 24, 2017, Dr. Evans reported Mr. Linderman has not been released
to return to work following the accident and will likely need surgical treatment due to the
injuries incurred in the accident of September 16, 2015.

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Records from Dr. Leonard D’Addesi document treatment for bilateral arm pain, hand
weakness, atrophy of right hand muscles, and bilateral carpal tunnel syndrome Physical
therapy reports recorded bilateral shoulder pain, thoracic and lumbar pain and significant
difficulty with reaching, lifting, and turning his head after the accident

On July 11, 2016, Mr. Linderman was informed he had been determined to be disabled
by the Social Security Administration effective March 2016,

At the time of the accident Mr. Linderman had been actively employed for many years
with Godiva Chocolatier, Inc. (Godiva). He has not returned to work following the
accident He was most recently employed as a Truck Driver delivering Godiva products
in the mid-Atlantic region. After the accident he received disability through the company
prior to being deemed disabled by the SSA. lt is vocationally notable that Mr.
Linderman’s position with Godiva was outsourced after his injury. However, as he Was
physically unable to return to work, he was not afforded an opportunity to continue
employment as a delivery driver or in any other position since the September 16, 2015,
accident

Wage and earnings records were reviewed in connection with Mr. Linderman’s claim of
loss. In fiscal 2014, the year prior to the accident, Dennis Linderman had W-2
documented earnings of $63,001. T he Social Security Eaming record noted Mr.
Linderman had partial year earnings of $54,445 in 2015. As Mr. Linderman demonstrated
Similar earnings in past years, his 2014 earnings level has been utilized as a basis for
analysis

VOCATIONAL EVALUATION:

On May 11, 2017, I met with and conducted a comprehensive Vocational Evaluation of
Dennis Linderman. Mr. Linderman presented as a now 61 year-old male who last
worked on or about September 16, 2015. He was 59 years of age at the time of the
accident.

Dennis Linderman resides with his wife at their home in Mohrsville, Pennsylvania, As
previously noted, Dennis Linderman had been employed by Godiva for many years. He
started with the company in 1987 and initially worked in the “sanitation departmen .” He
described cleaning machines, extruders, and performing maintenance related functions on
candy making and packaging equipment After approximately one and one half years he
started work on the shipping docks and became a “relief driver.” He explained this
involved packing orders, loading trucks, and this developed into a delivery position.

Most of Mr. Linderman’s vocational history with Godiva was as a Delz'very Route Truck
Driver (906.683-022) as described by the United States Department of Labor’s
Dictionarv of (')ccunatioiial Titles. Mr. Linderman operated a 24 to 26 foot box truck and
made deliveries of confections to stores in Pennsylvania, New York, Maryland,
Delaware, and Virginia. He loaded and unloaded trucks, transported items to customer
locations, and documented deliveries

 

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Prior to his extended employment with Godiva, Mr. Linderman worked for eight years
with the City of Reading in the Streets Department He maintained streets, plowed snow,
and assisted in construction and maintenance projects in the city. He also worked for a
short time at Pearl Vision Center where he was training to cut lenses and manufacture
eyeglasses

Dennis Linderman is an honorably discharged veteran of the US Navy. He primarily did
maintenance work on ships during his four year enlistment

Educationally, Dennis Linderman is a 1974 graduate of the Central Catholic High School.
He attended vocational- technical school for two years and studied auto body. He worked
for a brief time after school and before joining the Navy at Reading Auto Body. He
identified no aptitude deficits and he has basic computer usage exposurel Mr. Linderman
added his computer usage is limited to intemet search and he has not used a computer in
a work setting.

In other areas covered during the Vocational Evaluation, Mr. Linderman is a licensed
Pennsylvania driver, owns a vehicle, and he is able to drive. He described daily activities
to include taking his dog out in the morning and spending the day doing light chores
around his home. As he was encouraged by his physician to remain active, he assists with
maintaining his lawn, cooking, cleaning, grocery shopping, and similar tasks He has not
been able to pursue prior activities such as fishing, hunting, or more strenuous
maintenance activities around his horne due to discomfort in his low back, radiating leg
pain, and limited upper extremity usage.

Mr. Linderman reported he has not been able to look for or apply for work due to
continued medical treatment He also noted ongoing difficulty standing, walking,
radiating pain in his legs, and continued usage of medications as factors that have limited
his vocational activity since the accident

Medically, Mr. Linderman continues to see Dr. Evans and has undergone a series of
injections into his lumbar spine. He identified his low back pain as the primary issue at
this time. He added that immediately after the accident he treated most aggressively for
neck and shoulder discomfort but the low back has become his primary concern. I-Ie takes
Tramadol and Hydrocodone for his continued complaints Mr. Linderman acknowledged
prior to the accident he had received care for cervical complaints However, since
approximately 2012 he had worked without limitations or restrictions Mr. Linderman
was working full duty without restrictions in the years prior to the September 16, 2015,
accident

During our discussion Mr. Linderman discussed his “limited activity” at this time relative
to his past level of function He described difficulty with sitting or remaining in a static
position, difficulty with standing on hard surfaces, and a “tight feeling” in his back that
restricts mobility. He makes a conscious effort not to lift due to pain and experiences
discomfort with pulling or pushing activities

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METHODOLOGY:

For the purpose of this assessment, a Total Offset methodology consistent with the
Kac'.akowski v. Bolubasz (491 Pa.56l, 421A.2d. 1027 (1980)) decision will be utilized.
The Total Offset methodology utilizes the assumption that increases in wages due to
inflation and inherent productivity would be offset by the discount rate used to reduce
future earnings to present value. For that reason no additional assessment for productivity
increase beyond the rate of inflation has been assessed

Given his earnings history, Mr. Linderman’s earnings in the year prior to the accident of
September 16, 2015, have been utilized as a reasonable projection for future earnings ln
addition to base earnings analysis will also be offered for fringe benefits that would be
reasonably available to Mr. Linderman as part of his employment package

Utilizing data from the United States Department of Labor Bureau of Labor Statistics
(Einnlover Cost for Ernulovec Coinnensation. March 2017,) as well as information from
Godiva, fringe benefit allotment has been assessed at 12% of earnings Although the cost
of benefits to the employer is significantly higher, mandatory and discretionary benefits
were separated to avoid double counting. Only retirement savings and insurance
contributions made by Godiva have been included in this calculation

For proper analysis of economic variance, assessment must be offered for Work Life
Expectancy given Mr. Linderman’s known demographic status and the medical opinions
offered in this matter. A variety of methodologies have been utilized in assessing Mr.
Linderman’s future labor market participation, including the Incrernental/Decremental
methodology, Conventional methodology (Life and Work Life Exi)ectancies, Richards
and Donaldson, 2010), Markov methodology (Skoog, Ciecka, and Krueger, 2011), and
LPE methodology (New Work Life Expectancy 'I`ables, 2010).

Utilizing an lncremental/Decremental methodology, at age 59, his age at the time of the

accident in question, Mr. Linderman had a Work Life Expectancy of an additional 6.5 to
7.10 years given his level of education, occupation, and his status as “active” within the

U.S. economy.

Utilizing a Conventional methodology, Mr. Linderman’s Work Life Expectancies are
reported at 6.5 to 7.2 additional years from age 59. Utilizing a Markov Process model, his
Work Life Expectancy was recorded at 7.16 years Finally, utilizing an LPE method, as a
non-disabled male within his occupational and educational groups, Mr. Linderman’s
Work Life Expectancy ranged from 6.7 to 7.4 additional years at age 59.

For the purpose of this analysis WLE has been calculated at 7.0 additional years from the
date of incident, Wages have been calculated at $63,000 per year and employer
sponsored fringe benefits at 12% of total income.

ECONOMIC REVIEW/CALCULATIONS:
Dennis Linderman had earnings of $63,001 in 2014. From the earnings documents and
employer records it appears his 2015 earnings would have met or possibly eclipsed 2014

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levels if not for the accident in question Utilizing an earnings base of $63,000 per year,
a Work Life Expectancy of an additional seven (7) years, and fringe benefits at 12% of
earnings, assuming disability from employment as has been documented by Dr. Evans
and the Social security Administration decision, vocational- economic loss that may be
reasonably projected for Dennis Linderman would stand at $493,920.

 

 

 

 

 

 

 

 

 

Annual Earnings $63,000

WLE x 7.0 years $441,000

+ Fringe Benefits at 12% of earnings 3 $52,920

Total Loss: $493,920
CONCLUSIONS:

lt is my opinion after reviewing records available and interviewing Dennis Linderman
that he incurred economic loss as a result of the September 16, 2015, motor vehicle
accident Medical opinion was offered by Dr. Steven Evans that Mr. Linderman remains
unable to return to work as a Truck Driver/ Delivery Driver. A determination was also
entered by the Social Security Administration that Dennis Linderman is disabled from
employment

lf Dennis Linderman were unable to secure and maintain employment due to the injuries
he incurred in the motor vehicle accident of September 16, 2015, he would experience
significant economic loss attributed to the change in his vocational viability. Under this
analysis loss attributed to a change in Dennis Linderman’s vocational activity may be
reasonably projected at $493,920 as detailed within this report.

These opinions are provided within a reasonable degree of professional certainty.

Sincerely,
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